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IN THE UNITED STATES DISTRICT COURT i 484
FOR THE EASTERN DISTRICT OF TEXAS 17201
SHERMAN DIVISION MAY 17

Clerk, U.S. District Court

_ Vz.

 

UNITED STATES OF AMERICA § Texas Eastern
No. 4:17CR KE
§ Judge | MOLE
SUMATYA ALI §
N OTICE OF PLEA AGREEMENT
The government and the defendant, Sumatya Ali, have entered into an agreement
in relation to the pending charges. ka . y . k . :
Respectfully submitted,
| BRIT FEATHERSTON

Acting United States Attorney

/s/__Camelia Lopez

CAMELIA LOPEZ

Assistant United States Attorney
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CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing was served via email to defense
counsel on this the 16th day of May, 2017.

/s/__Camelia Lopez
CAMELIA LOPEZ

Notice of Plea Agreement
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